                                                                               July 2, 2019
VIA ECF

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

       Re:     Virginia L. Giuffre v. Alan Dershowitz, No. 19 Civ. 3377 (LAP)
               Request To File Extra-Length Brief

Dear Judge Preska,

       I write on behalf of Plaintiff Virginia L. Giuffre. Pursuant to Rule 2(C) of Your Honor’s
Individual Practices, Plaintiff hereby requests leave to file a 26-page memorandum of law in
opposition to Defendant Alan Dershowitz’ Motion to Disqualify Counsel [Dkts. 8-10]. The
additional pages are necessary to respond to the Defendant’s 28-page opening brief, and the
various arguments and allegations contained therein.

         Plaintiff’s counsel has conferred with counsel for the Defendant, and they do not object
to this request.


                                                     Respectfully submitted,

                                                     /s/ Joshua I. Schiller

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CC: Counsel for All Parties (via ECF)
